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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-00564
                                           )
MATTHEW DASILVA,                           )
                                           )
         DEFENDANT.                        )
__________________________________________)

        SUPPLEMENTAL ARGUMENT FOR RULE 29(A) MOTION
———————————————————————————————————————


       To supplement Defendant’s Rule 29(a) Motion, ECF No. 88, the defendant submits an

additional argument on Counts Three, Four, and Five.



    Counts Three, Four, and Five Lack Evidence That Defendant Knew That the Person

    Protected by the Secret Service Is or Will Be Temporarily Visiting That Area

       Offenses under 18 U.S.C. § 1752 require proof beyond a reasonable doubt that the

defendant acted knowingly with respect to each element of the offense. The Legal Instructions

issued in Mr. DaSilva’s case reflect such a requirement. See ECF No. 76, *10-13.

       The Government, however, has presented no evidence that Mr. DaSilva knew that Vice

President Pence was or would be temporarily visiting the area which he entered.

       In a recent filing in the District Court for the District of Columbia, Judge Lamberth ruled

that the mens rea element of knowingly applies not just to knowledge that an area was restricted




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but also to the knowledge that the person protected by the Secret Service is or will be

temporarily visiting that restricted area.

       [T]o prove that defendants
       "knowingly" committed the
       relevant acts in a "restricted
       building or grounds" for purposes
       of [counts under 18 U.S.C. §
       1752], the government must prove
       not only that the defendants knew
       they were in a "posted, cordoned
       off, or otherwise restricted area,"
       but also that they knew that it was
       such an area "of a building or
       grounds where the President or
       other person protected by the
       Secret Service is or will be
       temporarily visiting." 18 U.S.C. §
       1752(c)(l)(B).
United States v. Bingert, et. al., Case No.

1:21-cr-00091-RCL, ECF No. 163

(D.D.C. May 18, 2023).

       The Legal Instructions in Mr. DaSilva’s case are consistent with the principle outlined in

more detail by Judge Lamberth. The instruction in Mr. DaSilva’s case specifies that the mens rea

of knowingly is applicable to each element of the offense. This court remains free to conclude

that the Government must prove both, that 1) that the defendant knew the area he entered was

posted, cordoned off, or otherwise restricted, and 2) that the defendant knew this was an area

where the Vice President was or would be temporarily visiting.

       Neither of these elements has been proven at trial.




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       The Government presented no evidence that Mr. DaSilva had any knowledge of the

whereabouts of Vice President Pence, nor that the area he was visiting was where the Vice

President was or would be visiting, nor his general proximity to the Vice President.

       Without the presentation of evidence to establish knowledge that he was in such an area

of a building or grounds where the President or other person protected by the Secret Service is or

will be temporarily visiting, the factfinder would be left to speculate as to this element.

       A judgment of acquittal, therefore, is appropriate for Counts Three, Four, and Five. See

United States v. Campbell, 702 F.2d 262, 267 (D.C. Cir. 1983) (acquittal is appropriate when the

fact-finder has no evidentiary basis for the verdict).



                                               Respectfully submitted,

                                               By Counsel:

                                                      /s/
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on July 24, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                     /s/
                                               Marina Medvin, Esq.

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